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FILED

AO 91 (Rey. 11/11) Criminal Complaint

 

 

 

 

 

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UNITED STATES DISTRICT COU~T eel
for the CLERK, U.S. DISTRICT COURT
WESTER I F TEXAS
Western District of Texas BY. si
DEPUTY CLERK
United States of America )
V. )
Jennifer Loya CaseNo. 5 '2O-my- 649
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my <nowledge and belief.
On or about the date(s) of in the county of Bexar in the
Western District of Texas , the defendant(s) violated:
Code Section Offense Descripti:
United States Ccde Title 21 Section Conspiracy to possess with intent to distribute’500 grams or more of a
846 mixture or substance containing a detectable < mount of methamphetamine
18 U.S.C. 1503(a) Obstruction of Justice
18 USC 371 Conspiracy to Obstruct Justice

This criminal complaint is based on these facts:

See attached sheet.

@% Continued on the attached sheet.

 

 

Corsplainant’s signature

Jacob a erm, Special Agent, FBI

Ps ated mame and title

 

Sworn to before me and signed in my presence.

Date: 05/08/2020 Ay Ylfar7ZK_

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City and state: San Antonio, Texas he v Bem;>orad, U.S. Magistrate Judge
Printed name and title

 
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I, Jacob Dezern, Special Agent with the Federal Bureau of Invest’gation (FBI), San

Antonio, Texas, being duly sworn, depose and state as follows:

l. I am an “investigative or law enforcement officer” of the Jnited States within the
meaning of Title 18, United States Code (U.S.C.), Section 2510 (7), that ‘s, an officer of the
United States who is empowered by law to conduct investigations of and to make arrest for

offenses enumerated in Title 18, United States Code, Section 2516.

2. I am currently a Special Agent with the FBI, United State: Department of Justice.
I have been employed with the FBI since 2010. As such I have participated in numerous
criminal investigations involving drug trafficking, public corruption, and other criminal matters.
I have conducted and participated in physical and electronic surveillance, debriefings of
informants and reviews of taped conversations and records pertaining to drug trafficking and
public corruption. Through my training, education and experience, I have become familiar with
the manner in which criminal acts of drug trafficking and public corruptizn are committed. Many
of these crimes involve the use of email or other forms of electronic communication. I am also
familiar with the efforts of persons involved in such activities to avoid de‘ection by law
enforcement, including the use of vague or coded language during their conversations related to

illegal activities.

3. The Drug Enforcement Administration (DEA) began investigating Israel
FERNANDEZ-Vasquez in late 2018, when CS-18-158941, hereafter “CS,” who had been
incarcerated with FERNANDEZ-Vasquez, stated FERNANDEZ-Vasquez is a leader of a
sophisticated drug trafficking operation based in Monterrey, Nuevo Leon, Mexico with a

complex network of coordinators, distributors, and clients. According to the CS, FERNANDEZ-
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Vasquez is a member of the Cartel de Noreste (CDN). FERNANDEZ-Vasquez was deported
from the U.S. in May 2018, but his DTO still operates in San Antonio, Texas, The CS indicated
that FERNANDEZ-Vasquez oversees the transportation and distribution of large quantities of
cocaine, heroin, and methamphetamine into the U.S., specifically into the San Antonio area.

4, The CS has been in contact with FERNANDEZ-Vasquez since October 2018. The
CS was able to contact FERNANDEZ-Vasquez and negotiate the purchase of one pound of
methamphetamine from an associate of FERNANDEZ-Vasquez based in San Antonio, later
identified as Roland GUSTAMANTE. The CS was shown a photographic lineup, and he
positively identified GUSTAMANTE as the person he knows as “ROLO.”

5. On April 17, 2020, agents interviewed a cooperating defendant, hereafter referred
to as CD#1, regarding Roland GUSTAMANTE and his associates. CD#1 stated that
GUSTAMANTE was in charge of supplying CD#1 with illegal narcotics from Mexico and
coordinating the smuggling and transportation of illegal narcotics from Mexico into the United
States. CD#1 stated that GUSTAMANTE had a residence in Monterrey, Mexico that he would
utilize while conducting business in Mexico. Agents asked how the illegal narcotics would get
smugegled/transported from Mexico to San Antonio. CD#!1 stated the illegal narcotics loads
would come in pickup trucks driven my various individuals within the GUSTAMANTE DTO.
CD#1 stated the narcotics would be concealed in the tires, transmissions, and oil pans. Agents
then asked if the illegal narcotics loads would come directly to CD#1 or if he/she had to pick
them up. CD#1 informed agents that in the beginning, the narcotics would cross from Mexico
into Laredo, Texas, and then he/she would send some of his/her associates from San Antonio to
Laredo to pick up the illegal narcotics load. CD#1 stated he/she would use random people to

make these trips, and he/she would pay those individuals one thousand dollars per trip. CD#1
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stated once the narcotics load arrived in San Antonio, he/she would direct the vehicle to Roland
GUSTAMANTE’s sister’s residence in San Antonio, where the illegal narcotics would be off-
loaded inside the garage and then taken to the stash house used by CD#1. Roland
GUSTAMANTE’s sister is Alexandra GUSTAMANTE. CD#1 further stated that they used
Alexandra GUSTAMANTE’s residence on multiple occasions to unload the illegal narcotics,
which they coordinated with Alexandra GUSTAMANTE.

6. CD#1 stated that GUSTAMANTE’s wife, who CD#1 identified as Kimberly
LOYA on a photo lineup, was used by the GUSTAMANTE DT as the person who was in
charge of collecting/transporting/smuggling the bulk currency into Mexico to pay for the illegal
narcotics loads being distributed by the GUSTAMANTE DTO. CDé#! further stated that
Kimberly LOYA would drive a white Mitsubishi to collect/transport/smuggle the narcotics
proceeds from San Antonio to Mexico. The white Mitsubishi is registered to Jennifer LOYA,
Kimberly LOYA’s sister. However, Kimberley LOYA and GUSTAMANTE are the primary
users of the white Mitsubishi. According to border crossing history of the white Mitsubishi from
May 2019 to January 2020, that vehicle has travelled into Mexico approximately twenty-one
times. Out of the twenty-one trips, Kimberly LOYA has been an occupant of the white
Mitsubishi in all of them. On June 18, 2019, CD#1 was also an occupant on the white
Mitsubishi. According to CD#1, the reason he/she went to Mexico was to meet with
GUSTAMANTE?’s sources of supply, identified as Ismael FERNADEZ-Vasquez and Israel
FERNADEZ-Vasquez. CD#1 again stated that Kimberly LOYA routinely smuggled bulk
currency resulting from illegal narcotics distributed by the GUSTAMANTE DTO in San
Antonio. CD#1 also stated that Kimberly LOYA would sometimes pick up different amounts of

illegal narcotics throughout San Antonio and deliver the narcotics to various associates of
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GUSTAMANTE in San Antonio. CD#1 stated that Kimberley LOYA would do all this under
GUSTAMANTE’s instructions.

7. Jennifer LOYA, Kimberly’s sister, is employed as a Paralegal Specialist in the
United States Attorney’s Office for the Western District of Texas, San Antonio Division.
Jennifer LOYA initially started working for the U.S. Attorney’s Office as a legal assistant
beginning March 1, 2017, and was promoted to Paralegal Specialist in February of 2020.
Through her position at the U.S. Attorney’s Office, Jennifer LOYA has had access to electronic
surveillance records, Title III applications, pen registers, tolls analysis, tracking warrants, and
other law enforcement sensitive information belonging to various federal law enforcement
agencies. Asa result, she is in a position to understand the intricacies of electronic surveillance
by law enforcement. Jennifer LOYA is suspected of disclosing sensitive law enforcement
information pertaining to active DEA investigations to members of Drug Trafficking

Organizations (DTO).

8. Throughout the course of various drug trafficking investigations, DEA Agents
identified multiple DTOs operating in San Antonio that were loosely tied to each other. DEA
Agents identified the Frankie MARTINEZ DTO, and the Jonathan CHAPA DTO. While
investigating each DTO, Agents learned that Jonathan CHAPA and Adam MCGARITY, a
member of the MARTINEZ DTO, were childhood friends. Agents also learned that CHAPA
would provide the MARTINEZ DTO with narcotics supplied by Roland GUSTAMANTE.

GUSTAMANTE has been identified as a cousin of CHAPA, and an associate of MCGARITY.

9. In May 2019, the DEA Texas Anti-Gang Unit (TAG) arrested Frankie
MARTINEZ, the leader of the MARTINEZ DTO, During MARTINEZ?’s arrest, MARTINEZ

informed the case agent that he knew the case agent was specifically coming to arrest him.
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During the execution of the search warrants, agents found that multiple targets of the
MARTINEZ DTO had moved during the night and little narcotics were found during the
searches, Based on the investigation, DEA had been confident these locations would contain

narcotics and narcotics proceeds.

10.‘ In February 2020, MCGARITY, a member of the MARTINEZ DTO, proffered
with case agents regarding his involvement in the MARTINEZ DTO. During this proffer,
MCGARITY informed agents that a few days prior to his arrest, a female known only as
“MARIA,” came to his residence and informed him that she had observed official law
enforcement documents that named MCGARITY and other members of the MARTINEZ DTO
as targets of a DEA investigation. She did not explain how she had obtained access to these

sensitive law enforcement documents.

11. During the course of the DEA’s investigation of the CHAPA DTO and other close
affiliates of that organization, various individuals close to the CHAPA DTO had informed DEA
agents and task force officers that someone within that DTO had a source who was providing law
enforcement investigative information to the DTO. During an interview of Nathan LOPEZ on
March 12, 2020, LOPEZ informed DEA agents that a person known to him as “PRIMO" (later
identified by the DEA to be Roland GUSTAMANTE), knew someone working for the United
States government who provides “PRIMO” with information pertaining to federal investigations.
LOPEZ knew “PRIMO” had informed members of the DTO that they had been indicted by a
federal grand jury and that an associate of the DTO was cooperating with agents by providing

information about the DTO.
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12. On March 26, 2020, DEA executed a Western District of Texas federal search
warrant for cellular phones recovered during the arrest of Jonathan CHAPA, leader of the
CHAPA DTO. While reviewing one of the phones, agents located a text message thread on
March 2, 2020, which was two days before DEA presented their case on the CHAPA DTO to the
federal grand jury. The following text thread was exchanged between CHAPA and his cousin

and drug trafficking co-conspirator, Roland GUSTAMANTE:
GUSTAMANTE: ADAM up and it ain’t looking like it’s like a fair game
GUSTAMANTE: I might not be around cuzz

GUSTAMANTE: Games on and you in the hot seat.

GUSTAMANTE: Yesssir if you understand do your thing Cuz dont waist time
GUSTAMANTE: I got good kite on that.

GUSTAMANTE: Big Boy

GUSTAMANTE: To

GUSTAMANTE: And shorty

GUSTAMANTE: Real shit I’ve already paused the mas arriba don’t take me lightly

GUSTAMANTE: Need the church leftovers out the kitchen and in the cooler
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13. Based on the training, experience, and knowledge of other SAs and Task Force
Officers (TFOs) involved in this investigation, in the above exchange, GUSTAMANTE
informed CHAPA that Adam McGARITY, another drug trafficking conspirator identified by the
DEA, has proffered and “snitched” on CHAPA (“ADAM up and it ain’t looking like it’s like a
fair game”). GUSTAMANTE informed CHAPA that he will be leaving town and the police will
be coming after CHAPA (“I might not be around cuzz ... Games on and you in the hot seat”).
GUSTAMANTE informed CHAPA he has good, reliable information that law enforcement is
coming (“I got good kite on that”) and that law enforcement is coming after CHAPA, Sergio
(“Big Boy”) NARVAEZ, and Roger (“shorty”) DIAZ. GUSTAMANTE informed CHAPA not
to take what he is saying lightly (“real shit I’ve already paused the mas arriba don’t take me
lightly”) and to move his narcotics and get out of town (“Need the church left overs out the

kitchen and in the cooler’).

14, | On March 27, 2020, DEA TFOs interviewed Cooperating Defendant Three
(CD#3), a member of the CHAPA DTO. During the interview, CD#3 informed the officers that
GUSTAMANTE assists the CHAPA DTO in securing narcotics from Mexico and also assists in
the coordinating the transportation of the narcotics from Mexico to the United States. CD#3
stated GUSTAMANTE’S wife, Kimberly LOYA, has a sister who works for the United States
government as a paralegal assistant. CD#3 did not know this individual’s name but knows the
individual works as a paralegal and assists with DEA narcotics investigations. CD#3 stated the
individual knows law enforcement sensitive information pertaining to individual cases and
provides the information to GUSTAMANTE. CD#3 stated GUSTAMANTE informed CD#3
that CD#3 had been indicted and that law enforcement would be coming to arrest him/her soon.

CD#3 stated Kimberly LOYA’s sister has been providing information to members of the DTO
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for an extended period of time and stated prior investigations had been compromised as a result
of Kimberly’s sister’s providing the information. CD#3 stated he/she was told that
GUSTAMANTE received the leaked information by telephone, but was not sure if the source of
the information telephonically contacted GUSTAMANTE directly or passed the information to
GUSTAMANTE through her sister, Kimberly. DEA TFOs confirmed Kimberly LOYA’s sister

is Jennifer LOYA.

15, OnApril 15, 2020, Jonathan CHAPA's aunt, Jennifer CHAPA, contacted DEA
TFOs and stated that prior to Jonathan CHAPA’s arrest, Jonathan CHAPA bragged about the
DTO having someone on the inside of the government who was providing information to the
DTO. Jennifer CHAPA stated Jonathan CHAPA informed her that his cousin, Roland
GUSTAMANTE, had a contact who worked as a legal assistant and had access to DEA case

information.

16. During the course of their investigation, DEA Agents obtained toll records that
included cellular telephone contacts on (210) 371-3125, a phone belonging to Jennifer LOYA,

for dates including April 20, 2020, and April 28, 2020.

17. On April 20, 2020, a pen register application for a cellular telephone belonging to
Nathan LOPEZ (210-954-8955) was processed by Jennifer LOYA as part of her normal office
duties. LOPEZ is a drug trafficking associate of CHAPA and GUSTAMANTE. Jennifer
LOYA’s normal office duties include processing electronic surveillance requests for multiple
Assistant U.S. Attorneys in the San Antonio U.S. Attorney’s Office. This includes wire taps, pen

register applications, tracking warrants, and the like, The pen register application regarding
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LOPEZ originated from an Assistant United States Attorney in the San Antonio office

(“AUSAI”).

18. A Department of Justice Office of Inspector General (OIG) investigation revealed
that on April 20, 2020, Jennifer LOYA printed document “PEN 210-954-8955 LOPEZ.pdf.”
This was the pen register application related to LOPEZ that AUSA1 had submitted to the court
through LOYA. Pursuant to normal practice in that office, Jennifer LOYA had no reason to print
the document due to e-filing protocols. The electronic surveillance documents that Jennifer
LOYA handles are normally passed electronically from the AUSA, through Jennifer LOYA, to

the court. Printing them is unnecessary.

19. A few days after she printed the LOPEZ pen application, LOYA accessed
investigatory files related to LOPEZ and others. OIG remotely captured Jennifer LOYA’s
computer activity for April 28, 2020, while she was at work at the United States Attorney’s
Office in San Antonio. The computer activity revealed access to a shared digital folder entitled,
“AUSA |/investigations/CHAPA.Jonathan/reports.” Within that folder, Jennifer LOYA’s
computer accessed a folder named “Cooperating Witnesses and Defendants.” Jennifer LOYA is
not assigned to AUSA1 as his/her legal assistant and therefore has no legitimate reason to access

investigatory files related to those cases.

20. On April 28, 2020, at approximately 4:39 PM (CST) and again at 4:42 PM (CST),
Jennifer LOYA received incoming telephonic contact from a cellular telephone known to be
used by Kimberly LOYA. At about 5:30 PM (CST), Jennifer LOYA’s computer accessed an
unredacted DEA Form-6 report of a voluntary debriefing by Nathan LOPEZ. In this report,

LOPEZ, who was not in custody at the time, reported on drug trafficking activities within the
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CHAPA DTO, and specifically mentioned that a United States government employee had passed
information to GUSTAMANTE regarding future prosecutorial activities against members of the
CHAPA DTO. Later on this date, at approximately 8:35 PM (CST), Jennifer LOYA’s cellular
telephone (210) 371-3125 was contacted by Kimberly LOYA’s cellular telephone. This was

followed by approximately six outgoing contacts from Jennifer LOYA to Kimberly LOYA.

21. On May 7, 2020, Kimberly LOYA was interviewed by law enforcement.
Kimberly LOYA informed the interviewing agents that sometime between March 4, 2020, and
March 10, 2020, Jennifer LOYA informed Kimberly LOYA that Jonathan CHAPA had been
indicted and was about to be arrested and to not be around Jonathan CHAPA and to be careful.
Jennifer LOYA further informed Kimberly LOYA that Jennifer LOYA had come across a
document at work that GUSTAMANTE was under investigation for being involved with a

Mexican DTO.

22. Based on the above facts, I believe there is probable cause to conclude that
Jennifer LOYA engaged in conspiracy to possess with intent to distribute 500 grams or more of a
mixture or substance containing a detectable amount of methamphetamine in violation of Title
21, U.S.C., 846; obstruction of justice in violation of Title 18, U.S.C., Section 1503(a), and

conspiracy to obstruct justice in violation of Title 18, U.S.C., Section 371.
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Subscribed and sworn to before me
on May 8, 2020:

Respectfully submitted,

 
     

Jacob Dezern
Special Agent
FBI

 

“Pe BATES MAGISTRATE JUDGE
